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             CITY ~F CARSON and CITY OF
         9 ~ CARSON MOBILEHOME PARK
                                                                                  ~s— c~
             RENTAL REVIEW BOARD
        10
        11                                 UNITED STATES DISTRICT COURT
        12            CENTRAL DISTRICT OF CALIFORNIA,WESTERN DIVISION
        13
        14 COLONY COVE PROPERTIES,LLC a                            Case No. CV14-03242 PSG(PJWx)
           Delaware limited liability company,
        15                                                         Assigned to:
                       Plaintiff,                                  Hon. Philip S. Gutierrez
        16                                                         Courtroom 6A
                 v.
        17                                                         [P~§E~}~JUDGMENT AFTER
           CITY OF CARSON, a municipal                              APPEAL
        18 co oration; CITY OF CARSON
           M~BILEHOME PARK RENTAL
        19 REVIEW        BOARD,         a   public
           administrative body; and DOES 1 to 10,
        20 inclusive,
        21                          Defendants.
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              01007.0504/497166.5                                  1             Case No. CV 14-03242 PSG(PJWx)
                                                  [PROPOSED]JUDGMENT AFTER APPEAL
Case 2:14-cv-03242-PSG-PJW Document 273 Filed 09/04/18 Page 2 of 2 Page ID #:8693



     1           On August 25, 2016, the Court entered a final Amended Judgment Nunc Pro
    2 Tunc in favor ofPlaintiff, Colony Cove Properties, LLC in this action. On August
    3 30, 2016, Defendants, City of Carson and City of Carson Mobilehome Park Rental
    4 Review Board filed a notice of appeal to the Ninth Circuit Court of Appeals.
     5           On April 23, 2018,the Ninth Circuit Court of Appeals reversed the August
    6 30,2016 judgment and remanded with instructions for the District Court to enter
     7 judgment in favor of Defendants. The Ninth Circuit denied Plaintiffs petition for
     8 rehearing/rehearing en banc on July 3, 2018. The Ninth Circuit issued its mandate
     9 on July 11,2018.
    10           IT IS HEREBY ORDERED,ADJUDGED,AND DECREED:
    11            1. That the judgment entered on August 25, 2016 is hereby vacated; and
    12           2. Thatjudgment is entered in favor of Defendants, City of Carson and City
    13 of Carson Mobilehome Park Rental Review Board; and
    14           3. That Plaintiff shall recover nothing; and
    15           4. That this action is dismissed on the merits; and
    16            5. That Defendants shall recover costs from Plaintiff, Colony Cove Properties,
    17 LLC in the amount of$89,127.41.
    18 IT IS SO ADJUDGED.
    19
    20                        DATED this          day of August, 2018.
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    23                Sl`~~~
    24                                                        The Honorable Philip S. Gutierrez
                                                              United States District Judge
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                                           fPROPOSEDI JUDGMENT AFTER APPEAL
